
50 So.3d 33 (2010)
Melvin PEREZ, Petitioner,
v.
Walter A. McNEIL, Secretary, Florida Department of Corrections, Respondent.
No. 1D10-1200.
District Court of Appeal of Florida, First District.
November 10, 2010.
Rehearing Denied December 16, 2010.
Melvin Perez, pro se, Petitioner.
Bill McCollum, Attorney General, and Joe Belitzky, Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The circuit court dismissed petitioner's complaint for declaratory judgment without prejudice. Accordingly, this petition for writ of certiorari is dismissed because petitioner will have an adequate remedy on final appeal. See South Broward Hosp. Dist. v. Dupont, 683 So.2d 1135 (Fla. 4th DCA 1996).
DISMISSED.
WEBSTER, LEWIS, and MARSTILLER, JJ., concur.
